Case 1:14-ml-02570-RLY-TAB Document 22402 Filed 07/21/22 Page 1 of 2 PageID #:
                                 132530



                  IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                         INDIANAPOLIS DIVISION


 IN RE: COOK MEDICAL, INC., IVC FIL-             Case No. 1:14-ml-2570-RLY-TAB
 TERS MARKETING, SALES PRACTICES
 AND PRODUCTS LIABILITY LITIGATION               MDL No. 2570


 This Document Relates to:

 Audrey Kuntzler
 Case No. 1:19-cv-01472


                                  Appearance

To:   The Clerk of Court and all parties of record

       I am admitted or otherwise authorized to practice in this Court, and I appear
in this case as counsel for the above Plaintiff Audrey Kuntzler.

Date: July 21, 2022                          Respectfully submitted:

                                             WILLIAMS & PIATT, LLC


                                             /s/ Joseph N. Williams
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Case 1:14-ml-02570-RLY-TAB Document 22402 Filed 07/21/22 Page 2 of 2 PageID #:
                                 132531



                             Certificate of Service

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                                        /s/ Joseph N. Williams
                                        Joseph N. Williams
